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                        Exhibit D

       REDACTED VERSION OF
      DOCUMENT SOUGHT TO BE
             SEALED




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                         § Therefore, while we understand the value of the platform historically, we are the ones driving the
                             YoY growth and incremental value add - not Apple (i.e. this wasn’t from increased phone sales or
                             features you offered) while your platform reaps the benefit. This feels somewhat one-sided.
                 o Dating as a category is episodic
                         § The average subscriber stays only 4-5 months
                         § As a top grossing partner, we never are able to take advantage of the 15% rev share since the intent
                             of our apps is to actually have people meet and leave our apps
                         § Other top grossing partners such as our colleagues at Netflix have an average subscriber length of 43
                             months, which means their average rev share works out to be approximately 18% - much closer to
                             the 15% than the 30% commissions we pay
                 o Channel optimization
                         § Historically, Tinder grew up as an app first business and never had their own payment system.
                             Therefore, they had no choice but to utilize IAP on both IOS and Android. Late last year, Tinder
                             launched an international web product and its own payment system.
                         § None of the Match Group brands utilize IAP on Android except for Tinder – however this is likely to
                             change
                         § Therefore looking forward at channels, user acquisition and conversion – Apple becomes the only
                             business that charges 30% and the least attractive since 30% ROI just to break-even is a high hurdle
                             to cross (either from a conversion and/or retention perspective) relative to our other platform
                             options. In the spirit of a true and effective partnership, we should be utilizing your platform and
                             driving growth based purely on its effectiveness – rather than because we have to and/or looking
                             at other channels due to your legacy rules around the 30% and ROI impact. All of this would lead
                             to more app downloads and growth.
                         § Being in the payments space for a very long time, we also know that the 30% rate is arbitrary since i)
                             we know that other categories are not forced to use IAP and ii) the cost of accepting payments is
                             only <2-5%
                 o I don’t know if you’ve already discussed the above with Matt per our discussion at dinner, but I’d like to get
                     the dialogue going about potentially modifying our rev share given that we’re a top grossing partner and
                     especially because of the episodic nature of our business. I’d like to propose that the dating category
                     and/or other similar episodic categories are either a) included in the exclusion list (since our subscribers
                     are with us for such a short period of time + this may be easier since an exclusion list already exists for
                     physical goods, etc) or b) we define a separate category for dating that is able to take advantage of the 15%
                     immediately due to the short term and episodic nature of our businesses
         ·    2-factor Authentication (new topic)
                 o Does Apple have a solution for 2-factor authentication for its apps? We’re looking at introducing this
                     functionality for several of our brands.
                 o I spoke to an old colleague who now works at Hilton and they informed me about Business Chat via
                     Messages. Is it possible and/or do some apps use Business Chat for 2FA or do you have an alternative
                     solution? The other option is obviously to engage a third party like a Nexmo or Twilio.

     I look forward to collaborating with you and the team on this partnership and these are the large ticket items on the top of
     my mind right now. As I mentioned during our meeting, we could have an extremely beneficial relationship where we
     share best practices and work together to drive growth for both our businesses. I believe we can provide a lot of value
     given that we’ve been running subscription / recurring / auto-renewal businesses for longer than almost any digital goods
     + services business out there today and so whether it’s around payment / conversion optimization to retention to
     auto-renewal best practices, we can assist.

     Look forward to hearing from you and I propose we get something on the calendar to touch base at least once a month.

     Best,
     -AO




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     Adrian Ong
     SVP, Operations
     match group




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